          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )

     THIS MATTER is before the Court on the Government’s Motion in

Limine to Admit Documents Pursuant to Business Records Certifications

[Doc. 189], filed March 5, 2009.

     The parties have advised the Court that they have resolved all issues

raised in the motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion in

Limine to Admit Documents Pursuant to Business Records Certifications

[Doc. 189] is hereby DENIED as moot.

                                        Signed: March 20, 2009




   Case 3:07-cr-00211-MR-DCK       Document 220    Filed 03/20/09   Page 1 of 1
